





















Opinion issued February 3, 2011.



In The

Court of
Appeals

For The

First District
of Texas

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NO. 01-10-01129-CV

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IN RE monica nolasco, as next friend of e.d., a minor, Relator



&nbsp;



&nbsp;

Original Proceeding on Petition for Writ of Mandamus



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&nbsp;

MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Relator
Monica Nolasco, as next friend of her minor niece, E.D., has filed a petition
for writ of mandamus, complaining that the trial court denied her request for (1)
a continuance of the trial of the underlying lawsuit and (2) to allow privately-retained
counsel to substitute for court-appointed counsel in the representation of E.D.[1]&nbsp; On February 2, 2011, relator moved the Court to
dismiss her petition for writ of mandamus, stating that she no longer desires
to pursue mandamus relief.&nbsp; No opinion
has issued in this case.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accordingly,
we grant relator’s motion.&nbsp; The
petition for writ of mandamus is dismissed, and our order staying the
trial of the underlying lawsuit is lifted.&nbsp;


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PER CURIAM

&nbsp;

Panel
consists of Chief Justice Radack and Justices Massengale and Brown.

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[1]
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The underlying lawsuit In re E.D., No. 2010-05624J in the 313th
District Court of Harris County.

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